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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 0:16-cv-63008-BB

 NORTHROP AND JOHNSON HOLDING
 COMPANY, INC., a Florida corporation,


        Plaintiff,

 vs.

 CARYN LEAHY, a citizen of Rhode Island, and
 NORTHROP AND JOHNSON YACHT
 CHARTERS, INC., a Rhode Island Corporation,


        Defendants.

 ______________________________________/

         DEFENDANTS’ MOTION TO STRIKE AFFIRMATIVE DEFENSES AND
                   INTEGRATED MEMORANDUM OF LAW
        Defendants, by and through undersigned counsel, hereby move to strike Plaintiff’s

 Affirmative Defenses to Counterclaim, as follows:

        1.       Plaintiff’s Affirmative Defenses to the Counterclaim [part of D.E. 63] must be

 stricken as they do not comply with the legal pleading requirements.

        2.       The Court has broad discretion in considering a motion to strike under Fed.R.Civ.P.

 12(f). See Williams v. Eckerd Family Youth Alternative, 908 F.Supp. 908, 910 (M.D.Fla.1995).

 Rule 12(f) states that “the court may order stricken from any pleading any insufficient defense or

 any redundant, immaterial, impertinent, or scandalous matter.” Fed.R.Civ.P. 12(f). Thus, a defense

 will be stricken if it is insufficient as a matter of law. See Anchor Hocking Corp. v. Jacksonville

 Elec. Auth., 419 F.Supp. 992, 1000 (M.D.Fla.1976).

        3.       The party raising the affirmative defense “must do more than make conclusory

 allegations.”   Microsoft Corp. v. Jesse's Computers & Repair, Inc., 211 F.R.D. 681, 684



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 (M.D.Fla.2002).

        4.        In Microsoft Corp., the defendant “failed to allege any facts whatsoever in support”

 of its affirmative defense. Microsoft Corp., 211 F.R.D. at 684. (striking affirmative defense where

 it fell “woefully short” of the liberal pleading requirements of Rule 8.) Where the affirmative

 defenses are no more than “bare bones conclusory allegations, [they] must be stricken.” Id.

 “Affirmative Defenses” without factual allegations to support the conclusory statements are

 insufficient as a matter of law and must be stricken. Williams v. Wells Fargo Fin. Servs., Inc., No.

 11-21233-CIV, 2013 WL 12092533, at *4 (S.D. Fla. Jan. 16, 2013). A court must not tolerate

 shotgun pleading of affirmative defenses, and should strike vague and ambiguous defenses which

 do not respond to any particular count, allegation or legal basis of a complaint. Morrison v. Exec.

 Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1318 (S.D. Fla. 2005).

        5.        The following are the specific shortcomings of the affirmative defenses set forth in

 in D.E. 64:

               a. Affirmative Defense #1: The Counterclaim, in whole or in part, fails to state a

                  claim upon which relief can be granted. This is not a defense but a conclusory

                  denial. Luxottica Grp. S.P.A. v. Cash Am. E., Inc., 198 F. Supp. 3d 1327, 1329

                  (M.D. Fla. 2016). See also Merrill Lynch Bus. Fin. Serv., Inc. v. Performance

                  Machine Sys. U.S.A., Inc., 2005 WL 975773, at *12 (S.D.Fla. Mar. 4, 2005)
                  (affirmative defenses of failure to state a claim, failure to mitigate damages, waiver

                  and estoppel, and unclean hands stricken because each of these affirmative defenses

                  contained only “a bare-bones conclusory allegation which simply names a legal

                  theory but does not indicate how the theory is connected to the case at hand”).




               b. Affirmative Defense #2: Counterclaimants’ claims are barred, in whole or in part,

                  by the doctrine of laches. The defense of laches, like other equitable defenses in
                  Affirmative Defense #6, is a bare-bones conclusory allegation. As such, it is

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                 impossible for the counterclaimant to frame a response. See also Merrill Lynch Bus.

                 Fin. Serv., Inc. v. Performance Machine Sys. U.S.A., Inc., 2005 WL 975773, at *12

                 (S.D.Fla. Mar. 4, 2005)




             c. Affirmative Defense #3: Counterclaimants’ claims are barred, in whole or in

                 part, under the principles of equity, including unclean hands, inter alia, because of

                 Counterclaimants’ faults and misleading statements of fact, as set forth in the

                 Counterclaim. It is unclear what “principles of equity, including unclean hands,”

                 Counterdefendant is asserting here as a defense. Accordingly, Counterclaimant

                 cannot adequately respond. Moreover, it is unclear which particular misleading

                 statements of fact set forth in another pleading would amount to unclean hands.

                 This type of collective assertion of equitable defenses is inappropriate. Morrison

                 v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1319 (S.D. Fla. 2005);

                 Moreover, general allegations in the counterclaim do not relieve the

                 Counterdefendant of its obligation to put Counterclaimants on notice of the grounds

                 upon which each affirmative defense rests. HW Aviation LLC v. Royal Sons, LLC,

                 No. 807-CV-2325-T-23MAP, 2008 WL 4327296, at *7 (M.D. Fla. Sept. 17, 2008)



             d. Affirmative Defense #4: Contractual Estoppel. Counterclaimants, Caryn Leahy

                 and Northrop and Johnson Yacht Charters, Inc., are contractually estopped from

                 asserting Northrop and Johnson Holding Company, Inc.’s inability to control the

                 use of the trademark in internet advertising, marketing or control over the Mark’s

                 branding. This defense provides insufficient notice of what contract estops

                 Counterclaimant’s assertion, and should be stricken. Merrill Lynch Bus. Fin.


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                 Servs., Inc. v. Performance Mach. Sys. U.S.A., Inc., No. 04-60861-CIV-

                 MARTINEZ, 2005 WL 975773, at *12 (S.D. Fla. Mar. 4, 2005). Note that the

                 sole agreement between Counterclaimants and Counterdefendants has been fully

                 performed in 1997, and can thus no longer be breached by Counterclaimants



             e. Affirmative Defense #5: Legitimate Business Interest. Counterclaimants’ claim

                 of unfair competition is barred because the acts about which Counterclaimants

                 complain were undertaken for legitimate business purposes. A legitimate business

                 interest is not a recognized affirmative defense for unfair competition. At best, it

                 denies that the alleged competition was unfair, and as such is not a proper

                 affirmative defense, but a mere denial of the claim against Counterdefendant. In re

                 Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988). Nor is the alleged

                 legitimate business purpose stated.




             f. Affirmative Defense #6: Laches, Waiver, Estoppel. The Counterclaim, and each

                 of its purported causes of action, is barred in whole or in part by the doctrine of

                 laches, waiver or estoppel. The affirmative defenses of waiver and estoppel, and

                 unclean hands is to be stricken when they contain only “a bare-bones conclusory

                 allegation which simply names a legal theory but does not indicate how the theory

                 is connected to the case at hand”).Merrill Lynch Bus. Fin. Serv., Inc. v.

                 Performance Machine Sys. U.S.A., Inc., 2005 WL 975773, at *12 (S.D.Fla. Mar. 4,

                 2005). Moreover, it is unclear which of the three defenses is pleaded in Affirmative

                 Defense #6. See also Luxottica Grp. S.P.A. v. Cash Am. E., Inc., 198 F. Supp. 3d

                 1327, 1330 (M.D. Fla. 2016)


             g. Affirmative Defense #7: Failure to Mitigate. The Counterclaimants have failed

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                 to mitigate the harm they claim to have sustained, if any. The affirmative defense

                 of failure to mitigate is to be stricken when they contain only “a bare-bones

                 conclusory allegation which simply names a legal theory but does not indicate how

                 the theory is connected to the case at hand.” Merrill Lynch Bus. Fin. Serv., Inc. v.

                 Performance Machine Sys. U.S.A., Inc., 2005 WL 975773, at *12 (S.D.Fla. Mar. 4,

                 2005); Georgetown Trading Co., LLC v. Venturi Spirits, LLC, No. 14-62277-CIV,

                 2015 WL 11197791, at *4 (S.D. Fla. May 8, 2015).



              h. Affirmative Defense #8: Counterdefendant was legally justified in terminating

                  the License Agreement dated November 24, 1997 with Polaris for a legitimate

                  business purpose. This is a bare-bones pleading without any indication of what

                  legitimate business purpose allegedly justified termination of the agreement, nor

                  is there any indication as to which agreement was justifiedly terminated, and how

                  that should excuse Counterdefendant’s alleged wrongdoing. Morevoer, there is

                  no claim asserted in the Counterclaim for the breach or termination of the License

                  agreement between Counterdefendant and a third party, so that the Eighth

                  Affirmatice Defense is on its face nonsensical and should be stricken. Nor are the

                  counterclaimants a party to the said License Agreement.




             i. Affirmative Defense #9: Counterdefendant took no action to interfere with the

                 contractual relationship, that is, the Sub-License Agreement under which

                 Counterclaimants used the Service Mark until their lawful termination of the

                 Mark’s use due to Counterclaimants’ breaches. The Ninth Affirmative Defense is

                 nothing more than a denial that Counterdefendant interfered with the contractual

                 relationship, and as such is an improper affirmative defense. In re Rawson Food
                 Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988)
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             j. Affirmative Defense #10: Counterclaimants’ claim for intentional interference

                 with contractual relationship or tortious interference is barred by the applicable

                 statute of limitations. Plaintiff does not indicate what statute of limitations applies,

                 and why the claims come too late. The Federal Pleading form requires some

                 indication or explanation as to how a statute of limitations would bar a claim, so as

                 to place the claimant on notice. The Form's example of a statute of limitations

                 defense is qualitatively no different: “The plaintiff's claim is barred by the statute

                 of limitations because it arose more than ____ years before this action was

                 commenced.” Fed.R.Civ.P. Form 30 (2012).                  In this case, the Defense lacks

                 specificity.




              k. Affirmative Defense #11: Privilege: Counterdefendant was privileged in taking

                  all actions concerning the termination of the Sub-License Agreement and the

                  License Agreement.          This defense is again a bare-bones allegation without

                  sufficient facts.       Moreover, it is nonsensical on its face, because the

                  Counterdefendant was not a party to the Sub-license Agreement and could thus

                  not terminate it. In turn, Counterclaimants are not parties to the License
                  Agreement.


              l. Affirmative Defense #12: Justification. Counterdefendant was legally justified

                  to take the actions it did concerning the sub-licensee’s termination of the right to

                  use the Service Mark. Barebones assertions of defenses without any supporting

                  facts are legally insufficient. Microsoft Corp., 211 F.R.D. at 684. (striking

                  affirmative defense where it fell “woefully short” of the liberal pleading
                  requirements of Rule 8.) Where the affirmative defenses are no more than “bare

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                  bones conclusory allegations, [they] must be stricken.” Id.




              m. Affirmative Defense #13: Unjust Enrichment. It would be unjust enrichment for

                  Counterclaimants to recover any damages or injunctive relief for the claims

                  asserted in the Counterclaim. Unjust enrichment is insufficiently pled, as there is

                  no assertion as to how Counterclaimant would be unjustly enriched. Luxottica Grp.

                  S.P.A. v. Cash Am. E., Inc., 198 F. Supp. 3d 1327, 1330 (M.D. Fla. 2016).




              n. Affirmative Defense #14: Breach of Contract. Counterclaimants cannot recover

                  damages as alleged in the Counterclaim because Counterclaimants breached their

                  contract with Counterdefendant. The only contracts between Counterclaimants

                  and Counterdefendant are two Nondisturbance Agreements, one of which is

                  attached to the Second Amended Complaint. A plain reading of that Non-

                  disturbance Agreement shows that Counterclaimants fully complied with its

                  obligations at time of execution, and that they had no further obligations they could

                  possibly breach. Thus, the documents attached to and integrated into the pleadings

                  demonstrate that this allegation is repugnant and untenable and should be stricken.
                  Moreover, this defense simply denies an element of the counterclaim, i.e.,

                  compliance with conditions precedent. It is thus not a proper affirmative defense,

                  and should be stricken.



               o. Finally, Counterdefendant reserves the right to amend its pleadings at a later

                   stage. Such reservations are improper, unless withdrawn. Georgetown Trading

                   Co., LLC v. Venturi Spirits, LLC, No. 14-62277-CIV, 2015 WL 11197791, at *4
                   (S.D. Fla. May 8, 2015)
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        WHEREFORE, for the foregoing reasons, Counterclaimants respectfully request that this

 Court strike Counterdefendant’s affirmative defenses to the Counterclaim, and grant such other

 and further relief as is necessary and proper.




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                                                            Fla. Bar No.: 092860



                                     CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on October 30, 2017, I electronically filed the foregoing with

 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

 this day on all counsel of record who are registered to receive service through the CM/ECF system.

                                                     By: /s/ Claudio Riedi, Esq.           _
                                                         CLAUDIO RIEDI, ESQ.




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